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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY
CATHERINE COFFMAN
                                Plaintiff
    v.                                                Civil Action No. ___________________________________________

CYRUSONE INC., ET AL.
                                Defendant



                     CORPORATE DISCLOSURE STATEMENT

         The undersigned counsel for ______________________________________________,
                                                      Plaintiff Catherine Coffman
         certifies that this party is a non-governmental corporate party and that:


         This party’s parent corporation, and all publicly held corporations owning 10% or
         more of this party’s stock, are listed here:

         _____________________________________________________________________
         _____________________________________________________________________
         _____________________________________________________________________

                                              OR

✔        This party does not have a parent corporation, nor is there any publicly held corporation
         that owns 10% or more of this party's stock.


                                                             /s/ Mark D. Smilow
                                                             Signature of Attorney

                                                              305 Broadway, 7th Floor
                                                              Address

                                                             New York, NY 10007
                                                             City/State/Zip

                                                             01/11/2022
                                                             Date




                                                                                    DNJ-CMECF-005 (10/2018)
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Instructions:
1.       Disclosure Statement is to be filed as a separate document.
2.       Select Case Type (Civil) from the menu bar at the top of the ECF screen.
3.       Click on Other Documents.
4.       Select Corporate Disclosure Statement.
5.       Enter the case for which the Disclosure Statement is being filed.
6.       Select the PDF document to file.
7.       Select the party filing the Disclosure Statement.
8.       If applicable insert the name of the Corporate Parent or leave it blank.
9.       Proofread the docket text.
10.      Submit the Disclosure Statement by clicking the NEXT button.
